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                                                             UNITED STATES BANKRUPTCY COURT
                                                               WESTERN DISTRICT OF VIRGINIA
                                                                     ROANOKE DIVISION

                                  IN RE:

                                  MACTANZ, INC.,                                              Chapter 11
                                                                                              Case No. 18-71255
                                           Debtor(s).


                                  MEMORANDUM OF LAW IN SUPPORT OF CONSENSUAL THIRD PARTY RELEASE,
                                         PROVSIONS OF THE CHAPTER 11 PLAN OF MACTANZ, INC.
                                               AND RESPONSE TO OBJECTIONS THERETO

                                           Mactanz. Inc. (“Mactanz” or “Debtor”) by counsel, submits this Memorandum of Law in

                                  support of confirmation of the consensual third party release provision (the “Third Party Release

                                  Provision”), contained in its Chapter 11 Plan of Reorganization.

                                                                    PELIMINARY STATEMENT

                                           The Third Party Release Provision is contained in the Plan. The Plan provides a consensual

                                  “opt out” mechanism for the Third Party Release Provision. Specifically, as set forth in the

                                  Debtor’s Plan, each holder of an Impaired Claim, regardless of whether such holder votes to accept

                                  or reject the Plan or does not vote at all, may elect to opt out of the Third Party Releases. Among

                                  other reasons detailed below that justify the consensual third party releases in these circumstances,

                                  the Released Parties (Robert Rotanz and Joseph Dishaw) have provided substantial contributions

                                  to the Chapter 11 Case and the Debtor’s restructuring, without which a successful restructuring

                                  would not be possible. Further, as demonstrated below, the Debtor’s consensual third party release

                                  opt out provision is consistent with case law within the Fourth Circuit, including within Virginia.

                                  Specifically, a similar provision was recently approved by Judge Phillips in the Patriot Coal

                                  bankruptcy case. See In re Patriot Coal Corp., No. 15-32450-KLP, and by this Court, See In re
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      540.343.9800                Xinergy Ltd et al, No. 15-70444 (Bankr. W.D.Va)
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                                                                            BACKGROUND

                                                 1.       Pursuant to an Order dated January 22, 2019, the Court entered its Order

                                  Conditionally Approving the Disclosure Statement: fixing the last day to file objections to the

                                  Disclosure Statement and the Plan; approving form of ballot; fixing last day to file acceptances

                                  and rejections of the Plan; and setting a combined hearing on final approval of the Disclosure

                                  Statement and Confirmation of the Plan (the “Disclosure Statement Order”).

                                                 2.       On February 25, 2019, the United States Trustee filed its objection to the

                                  Debtor’s Plan, objecting to the “opt out” nature of the Third Party Releases.

                                                                              ARGUMENT

                                  A.     The Plan’s Consensual Third Party Release is Justified Under the Facts of This
                                         Chapter 11 Case

                                                 3.       The United States Court of Appeals for the Fourth Circuit has adopted a set

                                   of factors to consider when a plan includes a non-consensual release. See Behrmann v. National

                                   heritage Foundation, 663 F.3d 704, 712-13 (4th Cir. 2011) (citing Class Five Nevada Claimants v.

                                   Dow Corning Corp. (In re Dow Corning Corp.), 280 F.3d 648, 658 (6th Cir. 2002)). Although the

                                   Debtor respectfully submits that the factors set forth in the Dow Corning and Behrmann

                                   decisions are not strictly applicable to a bankruptcy court’s approval of a consensual third party

                                   release, as discussed in greater detail below, a number of justifications for approving the

                                   consensual Third Party Releases would satisfy most, if not all, of the Behrmann factors.

                                                 4.       For example, the Debtor is required to indemnify its principals, who are

                                   beneficiaries of the Third Party Releases, for liability and expenses incurred for certain claims.

                                   Thus, a suit against the Debtor’s principals “is, in essence, a suit against the debtor because it will

                                   deplete assets of the estate.” Behrmann, 663 F.3d at 711-712.
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                                                5.       The Debtor’s principals, Robert Rotanz and Joe Dishaw, who benefit from

                                  the Consensual Third Party Releases, have made substantial contributions to this Chapter 11 case

                                  by providing continued crucial management for the Debtor, funding legal fees and U.S. Trustee

                                  fees through their GoFundMe funds, and perhaps most importantly, funding the distributions to

                                  all of the impaired classes claims from their own personal funds. The amount that they are

                                  funding from their personal funds is well in excess of the “Chapter 7 Analysis” amount otherwise

                                  necessary to confirm the Debtor’s Plan.

                                                6.       Further, the Debtor has received overwhelming support for the Plan from

                                  the parties who are impacted by the Consensual Third Party Releases. Of the 51 Class 2 creditors

                                  who voted on the Plan, all 51 voted in favor of the Plan and none voted to opt out of the Third

                                  Party Releases. Of the 77 Class 5 creditors who voted on the Plan, 76 voted in favor and did not

                                  opt out of the Third Party Releases. Only one creditor, the plaintiff in the pre-petition lawsuit that

                                  caused the filing of the case, voted to reject the Plan and to opt out of the releases.

                                                7.       The Debtor’s plan provides a mechanism to pay all of the classes affected

                                  by the releases. It also provides a mechanism, the opt out provision, for those creditors who

                                  choose not to be impacted by the releases.

                                  B.    The Plan’s Consensual Third Party Release is Consistent with Legal Precedent in the
                                  Fourth Circuit.

                                                8.       As mentioned above, the Dow Corning and Behrmann factors are not

                                  applicable when the third-party release provision included in a plan is consensual. See In re

                                  Neogenix Oncology, Inc. 508 B.R. 345, 361 (Bankr. D. Md. 2014) (“It is well recognized that,

                                  where the application of the Dow Corning or other applicable factors leads to the conclusion that

                                  the third party releases should not be approved, the court can nevertheless approve the releases
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                                  with the consent of the releasing parties.”) Therefore, as the Third Party Release Provision in the
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                                  Debtor’s Plan is consensual, precedent from both the Eastern and Western Districts of Virginia and

                                  other jurisdictions supports the conclusion that the Dow Corning factors do not apply.

                                                 9.       While the Fourth Circuit has not directly held that consensual third party

                                  releases are per se permissible, several of its opinions strongly suggest that, if the court were to

                                  consider the issue, it would approve consensual third party releases without applying the Dow

                                  Corning factors.

                                                 10.      Furthermore, in National Heritage Foundation, Inc. v. Highbourne

                                  Foundation, the Fourth Circuit cited favorably to the Seventh Circuit’s decision in In re Specialty

                                  Equipment Cos., 3 F.3d 1043 (7th Cir. 1991). See National Heritage Found, Inc. v. Highbourne

                                  Foundation, Inc., 760 F.3d 344, 350 (4th Cir. 2014). In Specialty Equipment, the Seventh Circuit

                                  approved a consensual release, holding that the third party release at issue was acceptable because

                                  “each creditor could choose to grant, or not to grant, the release irrespective of the vote of the class

                                  of creditors or interest holders of which he or she is a member.” Specialty Equip., 3 F.3d at 1047.

                                                 11.      The examples cited above demonstrate that, on multiple occasions, the

                                  Fourth Circuit has either announced principles, or cited to case law, supporting the proposition that

                                  the bankruptcy court should honor a creditor’s voluntary decision to release its claim.

                                                 12.      Under the Debtor’s Plan, the Ballots provide a mechanism whereby

                                  creditors in Classes 2 and 5, even if they choose to abstain from voting, are given the option to

                                  affirmatively opt out of the consensual Third Party Release Provision. Courts outside the Fourth

                                  Circuit have regularly approved similar mechanisms so long as the voting creditor receives

                                  adequate notice of the release on the ballot. See, e.g., In re Genco Shipping & Trading Ltd., 513

                                  B.R. 233, 271 (Bankr. S.D.N.Y. 2014) (approving the debtor’s releases with respect to “those
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                                  from granting the release provisions”); In re Indianapolis Downs, LLC, 486 B.R. 286, 306-06

                                  (Bankr. D. Del. 2013) (approving third party releases under a plan where the “impaired creditors

                                  who abstained from voting on the Plan, or who voted to reject the Plan and did not otherwise opt

                                  out of the releases, [and] the record reflects these parties were provided detailed instructions on

                                  how to opt out, and had the opportunity to do so by marking their ballots.”); In re Natural Prods.

                                  Grp. LLC, Case No. 10-10239, 2010 WL 2745983, at *6 (Bankr. D. Del. Feb. 22, 2010)

                                  (approving third party release where “each holder of an impaired Claim against the Debtors was

                                  also given the opportunity to “opt out’ of such releases by making a timely written election by the

                                  Objection Deadline”); In re DBSD North America, Inc., 419 B.R. 179, 218 (Bankr. S.D.N.Y.

                                  2009) (holding that creditors who abstained from voting and failed to opt out were deemed to have

                                  consented to the third party releases because the ballot contained, in bold font, notice of the release

                                  provisions and an opportunity to opt out), judgment aff’d in part and reversed in part, on other

                                  grounds, 627 F.3d 496 (2d Cir. 2010); In re Calpine Corp., No. 2007 WL 4565223, at *10 (Bankr.

                                  S.D.N.Y. Dec., 19, 2007) (“Thus, those Holders of Claims and Interests voting to accept the Plan

                                  or abstaining from voting and choosing not to opt out of the releases were given due and adequate

                                  notice that they would be granting the releases by acting in such a manner.”); In re Conseco, 301

                                  B.R. 525, 528 (Bankr. N.D. Ill. 2003) (holding that a release provision that bound those who

                                  agreed to be bound, either by voting or abstaining and not opting out of the release was

                                  consensual.)

                                                 13.      Recent precedent within Virginia also supports confirmation of the Debtor’s

                                  Third Party Release Provision. In In re Patriot Coal Corp. and in In Re Xinergy Ltd., the United

                                  States Bankruptcy Court for the Eastern District of Virginia and Western District of Virginia,
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                                  Plan. Judge Phillips and Judge Black respectively approved this provision over objections by the

                                  United States Trustee. Here, the Debtors have allowed creditors to vote for the Plan and still opt

                                  out of the release if they elect to do so, thus providing an appropriate option to creditors in

                                  expressing their consent for the release. The Patriot and Xinergy decisions support the validity of

                                  the Debtor’s Third Party Release Provision.

                                                 14.     In situations where a plan proposes a consensual release, courts have

                                  focused not on the propriety of the release itself, but instead on whether the release is sufficiently

                                  highlighted in the disclosure statement, ballot and plan. When the release is properly disclosed,

                                  courts have approved such releases on a consensual basis. In this case, the Debtor, by its counsel,

                                  worked with and sought input from the U.S. Trustee, by its counsel, to include language in the

                                  Disclosure Statement, Plan and ballot to adequately disclose to the impaired creditors the existence

                                  and mechanism of the Third Party Releases, and their right to opt out.

                                                 15.     The provisions concerning the Third Party Release in the Debtor’s Plan are

                                  set out clearly in both the Plan and Disclosure Statement. Additionally, the ballot sets out the opt

                                  out provision clearly and provides voting creditors with clear instructions if they choose to opt out

                                  of the Third Party Release Provision. Therefore, the Debtor submits that adequate notice of the

                                  Third Party Release has been provided in the Plan, Disclosure Statement and ballot.

                                  C.     The Objection of the United States Trustee Should be Overruled.

                                                 16.     The United Stated Trustee has objected to the Consensual Third Party

                                  Releases, arguing that the Debtors have not yet demonstrated that the factors set forth in Behrmann

                                  have been satisfied. As set forth above, the Debtor respectfully submits that although it is

                                  unnecessary to satisfy the Behrmann factors because the releases are consensual, its plan in fact
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                                                 17.     The United States Trustee also objects on the grounds that the procedure for

                                  opting out of the Consensual Third Party Releases is insufficient to demonstrate consent. As

                                  discussed above, the Debtors have conspicuously highlighted the Consensual Third Party Release

                                  and opt out procedure in each of the Disclosure Statement, the Ballot and the Plan itself. One

                                  creditor that returned a ballot elected to opt out of the Third Party Releases, which indicates that

                                  the opt out procedure employed by the Debtors was successful in conveying to creditors that they

                                  had the right to opt out of the Consensual Third Party Releases. Importantly, no party that is

                                  actually subject to the Consensual Third Party Releases has objected to the Plan.

                                                       CONCLUSION AND RESERVATION OF RIGHTS

                                                 18.     In sum, the Debtor respectfully submits that the Court should find that the

                                  Third Party Releases satisfy all of the requirements set forth by applicable law and should be

                                  confirmed along with all other provisions of the Debtor’s Plan.

                                                 19.     The Debtor expressly reserves its right to amend, modify, or supplement this

                                  Memorandum of Law and to raise any additional arguments and present additional evidence at the

                                  Confirmation Hearing or any subsequent hearing concerning the Debtor’s Plan.

                                  Date: February 27, 2019                      Respectfully submitted,
                                                                               MACTANZ, INC.
                                  By: /s/ Andrew S. Goldstein
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